                IN THE UNITED STATES DISTRICT COURT FOR THE
              MIDDLE DISTRICT OF TENNESSEE, NASHVILLE DIVISION

JOHN DOE #11,

        Plaintiff,

        vs.                                                    Case No. 3:22-cv-00338
WILLIAM B. LEE, et al.,

        Defendants.


    PLAINTIFF’S MOTION FOR LEAVE TO FILE DECLARATION UNDER SEAL


        Pursuant to Local Rule 5.03, Plaintiff moves the Court for leave to file his second declara-

tion in support of his motion for a temporary restraining order and preliminary injunction under

seal. In support of this motion, Plaintiff states:

        1. Plaintiff has moved the Court for an order permitting him to proceed under a pseudo-

nym and requiring that “[a]ll documents filed with the court that contain plaintiff’s name or infor-

mation that identifies plaintiff or his family members, directly or indirectly…shall be redacted or

filed under seal.”

        2. Plaintiff needs to file his second declaration in support of his motion for a temporary

restraining order and preliminary injunction. That declaration discloses his true name and other

detailed information (e.g., the name of his reporting officer) that in combination could realistically

be used to identify Plaintiff.

        3. Plaintiff has attached a redacted version of his declaration to his reply in support of his

motion for a temporary restraining order and preliminary injunction.

        4. Sealing this information is a narrowly tailored means to avoid identifying Plaintiff,

protect his legitimate interest in avoiding unwarranted opprobrium, humiliation, and harassment




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from bringing these actions, and preserve his chance to no longer be publicly identified as a regis-

tered sex offender if he prevails in this action.

        Plaintiff therefore requests the Court to grant the relief requested above and any other nec-

essary or proper relief.

        Dated: May 20, 2022.

                                                    Respectfully submitted:

                                                    /s/ W. Justin Adams
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                                                    Plaintiff’s Counsel




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                                  CERTIFICATE OF SERVICE

       I certify that on May 20, 2022, a copy of the foregoing was filed electronically. Notice of

this filing will be sent by operation of the Court’s electronic filing system to all parties indicated

on the electronic filing receipt. All other parties will be served by email:

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       Counsel for Defendants

                                                   /s/W. Justin Adams
                                                   W. Justin Adams




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